     1    GUTTILLA MURPHY ANDERSON, P.C.
          Dawn M. Maguire (Ariz. No. 20368)
     2    5415 E. High St., Suite 200
          Phoenix, Arizona 85054
     3    Email: dmaguire@gamlaw.com
          Phone: (480) 304-8300
     4    Fax: (480) 304-8301
     5    Attorneys for Chapter Trustee Brian Mullen
     6                                   UNITED STATES BANKRUPTCY COURT
     7                                               DISTRICT OF ARIZONA
     8      In re:                                                      Chapter 7
     9      JOSEPH CARL MULAC, III AND MARY                             Case No. 2:20-bk-04173-BKM
            ELLEN MULAC,
    10                                                                  MOTION TO APPROVE SALE OF
                              Debtors.                                  REAL PROPERTY FREE AND CLEAR
    11                                                                  OF LIENS
    12                                                                  Re:      7411 E. Jackrabbit Road
                                                                                 Scottsdale, AZ 85250
    13                                                                           APN: 173-16-046
    14               Brian Mullen, the Chapter 7 Trustee in the above captioned case (“Trustee”), by and
    15    through undersigned counsel, hereby requests that the Court enter an Order allowing the sale of
    16    real property, pursuant to 11 U.S.C. §§ 363(b) and (f), and § 506(c). Specifically, the Trustee
    17    requests an Order authorizing the sale of the bankruptcy estate’s interest in the real property
    18    located at 7411 E. Jackrabbit Road, Scottsdale, AZ 85250 – APN: 173-16-046 (“Property”), free
    19    and clear of all claims, liens, adverse interests and encumbrances, with a carve out of the sales
    20    proceeds to benefit the bankruptcy estate. This Motion to Approve Sale of Real Property Free
    21    and Clear of Liens (“Motion”) is supported by the following Memorandum of Points and
    22    Authorities, incorporated herein by this reference, and all exhibits thereto.
    23                               13 2020
                     DATED: November __,
    24                                                            GUTTILLA MURPHY ANDERSON, P.C.
    25                                                            /s/ Dawn M. Maguire #20368
                                                                  Dawn M. Maguire
    26                                                            Attorneys for Chapter 7 Trustee
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     1                            MEMORANDUM OF POINTS AND AUTHORITIES

     2    A. JURISDICTION AND BACKGROUND

     3              1.       This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§157

     4    and 1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper

     5    before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

     6              2.       On April 22, 2020, Joseph Carl Mulac, III and Mary Ellen Mulac (“Debtors”) filed

     7    a voluntary petition for relief under Chapter 7 of the United States Bankruptcy Code.

     8              3.       Brian Mullen is the duly appointed and acting Chapter 7 Trustee in this

     9    proceeding.

    10              4.       The Debtors listed their ownership interest in the Property on Schedule A.

    11              5.       Pursuant to 11 U.S.C. § 541, the Property is property of the bankruptcy estate.

    12              6.       Pursuant to Amended Schedule C [Docket No. 32], Debtors do not claim an

    13    exemption in the Property, and are not entitled to an exemption in the Property.

    14              7.       The Debtors are not residing in the Property and are aware of the Trustee’s sale of

    15    the Property.

    16    B. SUMMARY OF THE PROPOSED SALE

    17              1.       On June 22, 2020, the Trustee moved to employ BK Global Real Estate Services

    18    (“BKRES”) and UrbanCiti Realty & Property Management (“Listing Agent”) to assist in the

    19    marketing and sale of the Property.

    20              2.       On June 22, 2020, the Court entered the Order approving BKRES and Listing

    21    Agent’s employment. See Docket No. 47.

    22              3.       The Trustee, through BKRES and Listing Agent, received an offer from Robert

    23    Chang (“Buyer”) to purchase the Property for the sum of $2,450,000.00 with a buyer’s premium

    24    of $30,000.00 (“Purchase Price”). See Contract and Addendum 3 for price and reduction.

    25              4.       The Purchase Price shall be paid in certified funds at close of escrow. Buyer has

    26    deposited $15,620.00 earnest money, currently held by American Title Service Agency, LLC at

    27    7033 E. Greenway Parkway, Ste. 150, Scottsdale, AZ 85254, Escrow Agent: Tracy-Ann

    28    Chavarria, Branch Manager/Escrow Officer; phone: 480-365-7222; direct line: 602-424-7366;

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     1    and email: tchavarria@atsaaz.com. See Addendum 2 for Escrow contact information.

     2              5.       The terms of the proposed sale are summarized hereafter and are fully described

     3    and set out in the Residential Resale Real Estate Purchase Contract, Addendum 1, Addendum 2,

     4    Bankruptcy Addendum A, Affiliated Business Arrangement Disclosure Statement, Residential

     5    Buyer’s Inspection Notice and Seller’s Response (BINSR), Addendum 3, and Short Sale Affidavit

     6    (collectively, “Contract”), a true and correct copy of which are attached hereto as Exhibit A and

     7    incorporated herein by this reference.               Interested Parties are encouraged to review the

     8    Contract in its entirety. In the case of any discrepancy between the Contract and this

     9    Motion, the terms set forth in the Contract shall control.

    10              6.       The proposed Contract requires Wells Fargo, the first and second lien holder, to

    11    accept less than the outstanding sums due on Wells Fargo’s two outstanding Deeds of Trust for

    12    the Property. The third Deed of Trust on the Property will not receive payment of its debt on the

    13    over-secured Property.

    14              7.       The Trustee has received numerous offers on the Property. Given the value of the

    15    Property, and the condition of the Property, quite a few offers fell through or were withdrawn

    16    during the due diligence period.

    17              8.       The Trustee has determined that the Buyer’s offer is the highest and best offer

    18    received to date. Accordingly, the Trustee seeks authority to enter into the Contract with the

    19    Buyer, or nominee, or into a similar contract for the sale of the Property in substantially the same

    20    form as the Contract, subject to higher and better offers by competing bidders at the hearing to

    21    approve the sale of the Property.

    22              9.       Pursuant to 11 U.S.C. § 363(f), the Property is to be sold to the Buyer free and

    23    clear of all claims, liens, adverse interests and all such claims, liens, adverse interests and

    24    encumbrances automatically attach to the proceeds of the sale in the same effect and priority as

    25    they have to the Property.

    26              10.      The Property is being sold as is/where is. The Buyer is aware that he is purchasing

    27    the Property “as is/where is”, in its current condition. The Buyer is aware of the plumbing issues,

    28    leaks and potential mold issues, structural issues, appliance issues, pool equipment issues, roofing

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     1    issues, door and cabinet issues, and all other outstanding issues, given the Residential Buyer’s

     2    Inspection Notice and Seller’s Response (BINSR) report. The Buyer elected for a price reduction

     3    with full knowledge of the issues. See BINSR and Addendum 3.

     4              11.      The Trustee believes that the Property is encumbered by a first mortgage held by

     5    Wells Fargo in the approximate amount of at least $3,013,880.00. However, Wells Fargo agreed

     6    to the short sale of the Property and has agreed to accept less than the full amount as payment in

     7    full of its first lien. See Short Sale Affidavit.

     8              12.      The Trustee believes that the Property is encumbered by a second mortgage held

     9    by Wells Fargo in the approximate amount of at least $742,343.19. However, Wells Fargo agreed

    10    to the short sale of the Property and has agreed to release its lien against the Property for $0

    11    consideration.

    12              13.      The Trustee believes that the Property is encumbered by a third deed of trust, held

    13    by The Wade Trust, in the approximate amount of $975,000.00. However, given the Property

    14    value, The Wade Trust has agreed to release its lien in exchange for an unsecured claim in this

    15    bankruptcy case in the amount of $1,086,073.43. The Wade Trust has two claims on file: Claim

    16    No. 1 for $1,086,073.43 as a secured claim and Claim No. 5 for $1,002,992.47 as an unsecured

    17    claim. The Order approving the Sale will deny Claim No. 5 in its entirety and amend Claim No.

    18    1 in the amount of $1,086,073.43 as a timely filed unsecured claim.

    19              14.      Shared real estate agents’ commissions in the amount of 6% of the total purchase

    20    price are to be paid by Wells Fargo pursuant to the Contract between the Trustee’s agent, the

    21    Buyer’s agent and BK Global.

    22              15.      All closings costs paid are to be paid by Wells Fargo and/or Buyer, pursuant to the

    23    Contract.

    24              16.      All property taxes paid are to be paid by Wells Fargo upon closing pursuant to the

    25    Contract.

    26              17.      In the event that the sale of the Property triggers a taxable event, the bankruptcy

    27    estate will only be responsible for any taxes based on the surcharge recovery to the bankruptcy

    28    estate and not the sale in its entirety.

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     1              18.      The bankruptcy estate is not responsible for payment of any fees or costs in this

     2    sale.

     3              19.      The Trustee, for the benefit of the bankruptcy estate, will recover a surcharge of

     4    5% from Wells Fargo, or $125,000.00 plus the $30,000.00 buyer's premium (paid by the Buyer

     5    pursuant to the Contract- See Addendum 1) for a total of $155,000.00, for the sale of the Property.

     6    Payment to the bankruptcy estate of $155,000.00 is pursuant to 11 U.S.C. § 506(c).

     7              20.      There is no current appraisal of the Property.

     8              21.      The Trustee is informed and believes that the Buyer has no connection or relation

     9    to the Debtors and that the Buyer is a good faith purchaser. Accordingly, the Buyer seeks a

    10    determination that Buyer is entitled to the protections afforded under 11 U.S.C. §363(m).

    11              22.      In order to reduce accruing post-petition administrative expenses, the Trustee

    12    requests that the 14 day stay set forth in Fed.R.Bankr.P. 6004(h) be waived so that the sale of the

    13    Property may immediately close.

    14              23.      The Contract calls for a close of escrow date no later than 21 days on or before the

    15    Court Order authorizing the sale. However, the Property has high utility expenses being carried

    16    by Wells Fargo, as well as the fact that the Property is sitting vacant, therefore the parties wish to

    17    close this sale as soon possible.

    18              24.      Bankruptcy Court approval of the sale of the Property is a condition precedent and

    19    the Contract shall be null and void if such approval is not obtained.

    20              25.      The sale of the Property shall be “as is/where is”, the Trustee makes no warranties,

    21    implied or expressed, regarding the Property.

    22              26.      As set forth above, this sale is subject to higher and better offers to ensure that a

    23    fair and equitable value is attributed to the Property for the benefit of all concerned. The Court

    24    retains authority to control the bidding process and to determine whether competing bids are

    25    higher and/or better offers.

    26              27.      Absent Court Order to the contrary, any successful bidder must comply with the

    27    terms of the Contract, including the deadlines set forth in the Contract wherein due diligence has

    28    expired, with the sole exception being that the Purchase Price will be the amount of the bid

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     1    approved by the Court.

     2              28.      Any interested party wishing to bid at the Sale Hearing must qualify as a bidder to

     3    present a bid at the sale hearing. To qualify as a bidder, the interested party must provide, at least

     4    48 hours before the sale hearing: 1) pre-qualification letter to Trustee or Trustee’s counsel, 2)

     5    evidence of ability to fund the sale transaction in its entirety within 21 days of the sale hearing to

     6    Trustee or Trustee’s counsel, and 3) deposit $15,620.00 in certified funds into escrow with

     7    American Title Service Agency matching the Buyer’s deposit.

     8              29.      In the event the successful bidder fails to timely comply with the requirements set

     9    forth in the Contract, the Sale Motion or the Sale Order, the parties can certify a back up bidder

    10    at the sale hearing. To remain eligible as a backup bidder, the unsuccessful bidder must leave

    11    their $15,620.00 escrow deposit with American Title Service Agency, LLC. If the successful

    12    bidder defaults, the Trustee will immediately notify the second highest eligible bidder by

    13    telephone and facsimile (“Bidder Notice”), who shall thereafter have seven (7) days to close on

    14    the sale of the Property. Any unsuccessful bidder who elects to remain as an eligible backup

    15    bidder shall be entitled to the immediate return of its Escrow Deposit upon a closing by and

    16    between Seller and any other party. Any backup bidder who receives a Bidder Notice and fails

    17    to timely close shall forfeit their Escrow Deposit. Nothing herein shall affect Seller’s rights to

    18    seek additional damages or Seller’s right to seek an action for specific performance against any

    19    party.

    20    C. LEGAL ARGUMENT

    21              30.      Pursuant to 11 U.S.C. § 363(b)(1), the Trustee is authorized, after notice and a

    22    hearing, to use, sell or lease property of the estate outside the ordinary course of business.

    23              31.      The Trustee has determined that the sale of the Property pursuant to the terms set

    24    forth in Exhibit A is in the best interest of the bankruptcy estate and all creditors herein.

    25              32.      Pursuant to 11 U.S.C. § 363(f), the Trustee requests that the sale of the Property

    26    be free and clear of all claims, liens, adverse interests, and encumbrances.

    27              33.      The Trustee believes that the sale will generate funds for unsecured creditors given

    28    the recovery to the bankruptcy estate under 11 U.S.C. § 506(c).

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     1              34.      The Trustee requests authority to accept the surcharge of $155,000.00 from the

     2    sale of the Property.

     3              8.       The Trustee requests authority for the servicing agent to disburse the following

     4    amounts from the sale proceeds:

     5                       a.       Ordinary costs of sale, including all taxes;

     6                       b.       All other costs and expenses outlined in the Contract;

     7                       c.       A real estate commission of not more than 6% of the Purchase Price to the

     8                                Trustee’s agent, Buyer’s agent and BK Global;

     9                       d.       Agreed upon payment to Wells Fargo for its first lien against the Property;

    10                       e.       No payment to Wells Fargo for its second position lien against the

    11                                Property;

    12                       f.       An Amended Claim No. 1, as a timely filed unsecured claim, for The Wade

    13                                Trust for the third position lien against the Property; and

    14                       g.       $155,000.00 payment to the bankruptcy estate in care of the Trustee.

    15              WHEREFORE, Trustee respectfully requests that the Court approve the sale of the

    16    Property to the Buyer on the terms set forth in Exhibit A attached hereto.

    17              RESPECTFULLY SUBMITTED: November 13, 2020

    18                                                            GUTTILLA MURPHY ANDERSON, P.C.
    19
                                                                  /s/ Dawn M. Maguire #20368
    20                                                            Dawn M. Maguire
                                                                  Attorneys for Chapter 7 Trustee
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     1    E-FILED on November 13, 2020 with the
          U.S. Bankruptcy Court and copies served
     2    via ECF notice on all parties that have
          appeared in the case.
     3
          COPY emailed the same date to:
     4
          Brian Mullen
     5    Chapter 7 Trustee
     6    BK Global
          Attn: Patrick Butler
     7    Attn: Laura Burton
          pbutler@bkginc.com
     8    lbarton@bkginc.com
     9    Heena Khatri
          UrbanCiti Realty & Property Management
    10    heena@urbanciti.com
          Agent for the Trustee
    11
          Tracy-Ann Chavarria
    12    Branch Manager/Escrow Officer
          American Title Service Agency, LLC
    13    7033 E. Greenway Parkway, Ste. 150
          Scottsdale, AZ 85254
    14    tchavarria@atsaaz.com
          Title Company
    15
          Hugh Anderson
    16    Anderson & Anderson Real Estate, LLC
          15972 N. 115th Way
    17    Scottsdale, AZ 85255
          dhughanderson@gmail.com
    18    Agent for Buyer
    19    Robert Chang
          2893 E. Scorpio Place
    20    Chandler, AZ 85249
          Buyer
    21
          Nathan A Finch
    22    CATALYST LEGAL GROUP PLLC
          1820 E. Ray Road
    23    Chandler, AZ 8522
          Nathan@Catalyst.Lawyer
    24    Attorneys for Mary Ellen Mulac
    25    ///
    26    ///
    27    ///
    28    ///
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     1    Robert D. Mitchell
          Christopher R. Kaup
     2    Sarah K. Deutsch
          Zachary R. Cormier
     3    TIFFANY & BOSCO, P.A.
          2525 East Camelback Road, Suite 700
     4    Phoenix, Arizona 85016
          rdm@tblaw.com
     5    crk@tblaw.com
          skd@tblaw.com
     6    zrc@tblaw.com
          Attorneys for Creditor Larry Yount
     7
          Dean M. Dinner
     8    KUTAK ROCK LLP
          8601 North Scottsdale Road, #300
     9    Scottsdale, AZ 85253-2738
          dean.dinner@kutakrock.com
    10    Attorneys for CIT Bank, N.A.
    11    Jason P. Sherman
          JANEWAY LAW FIRM, LLC
    12    3636 N. Central Ave., Suite #400
          Phoenix, AZ 85012
    13    jsherman@logs.com
          AZNotices@logs.com
    14    Attorneys for Nationstar Mortgage LLC d/b/a Mr. Cooper
    15    Gerald L. Shelley
          Brett Gilmore
    16    FENNEMORE CRAIG, P.C.
          2394 E. Camelback Rd., Ste. 600
    17    Phoenix, AZ 85016-3429
          gshelley@fclaw.com
    18    bgilmore@fclaw.com
          Attorneys for CSL Riverbend LLC
    19
          Randy Nussbaum
    20    SACKS TIERNEY P.A.
          4250 N. Drinkwater Blvd., 4th Floor
    21    Scottsdale, AZ 85251
          Randy.Nussbaum@SacksTierney.com
    22    Attorneys for Darren Lee Sutton and R. Dean Harrell
    23    Tamalyn E. Lewis
          ENGELMAN BERGER, P.C.
    24    2800 North Central Avenue, Suite 1200
          Phoenix, Arizona 85012
    25    tel@eblawyers.com
          Attorneys for Robert J. Wade and Kathleen R. Wade as Trustees of The Wade Revocable Trust I
    26

    27    ///
    28    ///
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     1    Alan Baskin
          BASKIN PLC
     2    2901 N. Central Avenue, Suite 1150
          Phoenix, AZ 85012
     3    alan@baskin.law
          Attorneys for Carl Joseph Mulac III
     4
          COPY mailed the same date via U.S. Mail to:
     5
          Office of the United States Trustee
     6    230 N. First Ave., Suite 204
          Phoenix, AZ 85003-1706
     7
          Carl Joseph Mulac III
     8    Mary Ellen Mulac
          4800 N. 68th Street, #371
     9    Scottsdale, AZ 85251
          Debtors
    10
          Edward J. Novak Jr.
    11    Jodee K. Novak
          46 Wellington Ct.
    12    Yorktown Heights, NY 10598
    13    Wells Fargo
          PO Box 14591
    14    Des Moines, IA 50306
          Lien Holder
    15

    16    /s/ Monica J. Baca
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